Case 2:08-cv-00978-.]LR Document 32-6 Filed 06/02/09 Page 1 of 46

EXH|B|T 63

CO-)@Ul-B bd i\) '-‘

[\)N(\)Nl\)[\)f\)\\)i--‘)_‘~dr-*»_»e--¢»-»»-a»_a>_a
\JO\U]-$>W[\)’_‘OCOC\]C\LJ!-¥>WN~_‘O\O

28

Case 2:08-cv-00978-.]LR Document32-6 Filed 06/02/09 Page 2

 

THE HoNoR/-\BLE JAME L ;Roe)§§t

lN THE UNITED STATES DlSTR|CT COURT
FOR THE WESTERN DlSTR|CT OF WASH|NGTON

BRENDAN DUNN, RYAN TOMPK|NS, ) NO. 2:08-cv-00978JLR

and RYAN TOMPK|NS, ) PLA|NT|FF RYAN TOMPK|NS’S
) RESPONSES TO SET ONE OF
Plaintiffs, ) DISCOVERY REQUESTS FROM

) DEFENDANT ClTY OF SEATTLE ,
v.

MATTHEW HYRA, ClTY OF
SEATTLE (SPD), et al.,

Defendants.

vv`rv`_r`r`-r

 

PROPOUND|NG PARTY: DEFENDANT MART|N
RESPONDING PARTY; PLAINT|FF RYAN TOMPK|NS
SET NO.: 1

COMES NOW PLA|NT|FF RYAN TOl\/|PK|NS, lN THE ABOVE-NAN|ED
ACT|ON, THROUGH H|S ATTORNEY LAVVRENCE A. HlLDES, AND, RESPONDS
TO DEFENDANT MART|N’S SET ONE OF DlSCOVERY REQUESTS /-\S FOLLGWS:

ix
Plaintiffs object to the extent that Defendants have exceeded the limits for this

 

type of discovery, or have used subparts and definitions to facilitate exceeding the

DUNN V. HYRA-PLA|NT\FF RYAN TOMPK|NS’s responses to SET ONE OF Discovery requests
LAWRENCE A. HlLDES (WSBA # 35035)

P.O. Box 5405

Beiiingham, WA 98227

Te|ephone: (360) 715~9788

Fax; (360) 714-1791

ATTORNEY FOR PLA\NTIFFS

\DOO\]O\

10
11
12
13
14
15
16
17
18
19

20
21

Case 2:08-cv-00978-.]LR Document 32-6 Filed 06/02/09 Page 3 of 46

limits by propounding the extreme number of 84 Requests for Admissions of this
Plaintiff and even far more extreme numbers as to the other Plaintiffs and by piling
massive and ridiculous numbers of sets of discovery requests and requests within
those sets in order to render it impossible for Plaintiffs to fully respond .

Plaintiffs object to Defendants’ use of discovery to vex, annoy, and abuse the
legal process rather than for legitimate discovery purposes Here‘ Defendants ask
questions where the answers are either already contained in the document or require
legal conclusions that themselves require advanced legal training |n many of these
sets, Defendants have propounded interrogatories that included extensive subparts,
totaling over the limit for interrogatories

Finally, Plaintiffs object to counsel for Defendants deliberate propounding of
these discovery requests while counsel for Plaintiffs was on vacation and during a
period that counsel had filed a notice of unavailability for and then refusing to agree to
an extension of time specifically to respond to these RFAs despite direct knowledge
that counsel for Plaintiffs was away for several days of the period involved

Discovery is ongoing, and Plaintlffs reserve the right to correct, amend,t
supplement or change their answers to this set of discovery as further information is

revealed during the course of discovery.

RESPONSES TO DlSCOVERY REQUESTS
SET ONE CF DlSCOVERY REQUESTS

DUNN V. HYRA-PLAlNT|FF RYAN TON|PKlNS’s responses to SET ONE OF Discovery requests 2
LAWRENCE A, HlLDES (WSBA # 35035)

P.O. Box 5405

Bellingham, WA 98227

Telephorle: (360) 715-9788

Fax; (360) 714-1791

ATTORNEY FOR FLA|NTlFFS

N

1()

11

12

13

14

15

16

17

18

19

20

Case 2:08-cv-00978-.]LR Document 32-6 Filed 06/02/09 Page 4 of 46

V. |NT§RROGATORlES
1. ldentify every person Who participated in answering any of these interrogatories and/or
requests for production, designating the interrogatory(ies) and/or request(s) for production in
Which he or she participated in answering
ANSWER: l\/ly attorney, Lawrence A. l-lildes.
2. ln Paragraph 4.2 of the Complaint you state, “Defendants acted under color of state law

to deprive Plaintiffs as alleged herein, of certain constitutionally protected rights including. but

not limited to: (a) The right not to be deprived of liberty Without due process of lawO" As to

each defendant, state every fact that supports, negates, or relates to this allegation as itirelates to
each such defendant’s acts or omissions vis~a-vis Plaintiff TOl\/IPKINS, identifying each
person and document that you believe has information that assists in establishing each such
fact.

ANSWER: PLAlNTlFF objects to this interrogatory as actually constituting 9
interrogatories which combined with the other interrogatories far exceeds the limit as
to interrogatories Plaintiff will, therefore, answer as to this Defendant alone. Plaintiff
answers as follows: Defendant Martin advised Defendant Hyra to proceed in accosting
Plaintiffs without cause orjustification, simply because of their perceived political
ideology and affiliations He and Defendant Towne directed Hyra, Bale, and the other
named Defendant Officers in carrying out their illegal and tortious conduct, and then
lied about his observations and signed off on statements that he knew to be false as
ouNN v. HYRA-PLAINTlFF RYAN ToMPkle's responses to sET oNE or Discovery requests 3
LAWRENCE A, HlLDES (WSBA # 35035)

§§Cirnl;:;r:i(ir\S/A 98227

Telephone: (360) 715~9788
Fax: (360) 714~1791

ATTORNEY FOR PLAlNTlFFS

10

11

12

13

14

15

16

17

18

19

20

Case 2:08-cv-00978-.]LR Document 32-6 Filed 06/02/09 Page 5 of 46

to the supposed conduct of Plaintiffs and the , directly leading the to harm that
occurred to Plaintiffs; in addition, Martin then signed off on the reports, knowing they
were false, and made the decision to hold Plaintiff TOl‘leKlNS, despite the fact that
there was no lawful activity by Hyra and the other defendants to obstruct, and forward
that charge to the prosecutor, knowing that Plaintiff Dunn had not assaulted Hyra or
anyone else Thus Plaintiff TOMPK|NS was held at the police station and the jail,
without his rights being respected or followed.

3. ln Paragraph 4.2 of the Complaint you state, “Defendants acted under color of state law

to deprive Plaintiffs as alleged herein, of certain constitutionally protected rights including but

not limited to:®(b)) The right to be free from invasion or interference With l’laintiffs’ zone of

privacy€” As to each defendant, state every fact that supports, negates, or relates to this

allegation as it relates to each such defendant’s acts or omissions vis-a-vis Plaintiff
TOMPKINS, identifying each person and document that you believe has information that
assists in establishing each such fact.

ANSWER: PLAlNT|FF objects to this interrogatory as actually constituting 9
interrogatories which combined with the other interrogatories far exceeds the limit as
to interrogatories Plaintiff will, therefore, answer as to this Defendant alone. Plaintiff
answers as follows: Defendant l\/lartin advised Defendant Hyra to proceed in accosting
P|aintiffs without cause or justification simply because of their perceived political

ideology and affiliations He and Defendant Towne directed Hyraq Bale, and the other

DUNN V. HYRA-PLAlNTlFF RYAN TOMPKlNS’s responses to SET ONE OF Discovery requests 4
LAWRENCE A, HlLDES (WSBA # 35035)

P,O. Box 5405

Bellingham, WA 98227

Telephone: (360) 715»9788

Fax: (360) 714-1791

ATTORNEY FOR PLAlNTlFFS

 

i\.)

10

ll

12

13

14

15

16

17

18

19

Case 2:08-cv-00978-.]LR Document 32-6 Filed 06/02/09 Page 6 of 46

named Defendant Officers in carrying out their illegal and tortious conduct, and then
lied about his observations and signed off on statements that he knew to be false as
to the supposed conduct of Plaintiffs, directly leading the to harm that occurred to
Plaintiffs; in addition, Martin then signed off on the reports, knowing they were false,
and made the decision to hold Plaintiff TOl\/lPKlNS, despite the fact that there was no
lawful activity by Hyra and the other defendants to obstruct, and forward that charge to
the prosecutor, knowing that Plaintiff TOMPKINS had not interfered with any lawful
actions by Defendant Hyra or anyone else. Thus P|aintiff TOl\/lPKlNS was held at the
police station and the jail, without his rights being respected or followed

Plaintiff TOMPKlNS, was violently seized by, among other officers, Sgt. l\/lartin,
who used that force, unjustified as TOlVlPKlNS had violated no law and was merely
seeking to take a picture of Hyra’s illegal conduct when Hyra rode into him, injured him
and then grabbed him, to arrest him and drag him away all of this violating Plaintiff’s

zone of privacy.

4. ln Paragraph 4.2 of the Complaint you state, “Defendants acted under color of state law

to deprive Plaintiffs as alleged herein, of certain constitutionally protected rights including but

not limited to:®(c) The right to equal protection of the law0” As to each defendant, state

every fact that supports, negates, or relates to this allegation as it relates to each such

DUNN V. HYRA»PLA|NT|FF RYAN TOMPK|NS’s responses to SET ONE OF Discovery requests 5
LAWRENCE A. H|LDES (WSBA # 35035)

P.O. Box 5405

Bellingham, WA 98227

Telephone: (360) 715*9788

Fax: (360) 714~1791

ATTORNEY FOR PLAlNTlFFS

10

11

12

13

14

15

16

17

18

19

20

21

Case 2:08-cv-00978-.]LR Document 32-6 Filed 06/02/09 Page 7 of 46

defendant’s acts or omissions vis-a-vis Plaintiff TOMPKINS, identifying each person and
document that you believe has information that assists in establishing each such fact.
ANSWER: Plaintiff answers as follows: Defendant Nlartin advised Defendant Hyra to
proceed in accosting Plaintiffs without cause orjustification, simply because of their
perceived political ideology and affiliations He and Defendant Towne directed Hyra,
Bale, and the other named Defendant Officers in carrying out their illegal and tortious
conduct, and then lied about his observations and signed off on statements that he
knew to be false as to the supposed conduct of Plaintiffs, directly leading the to harm
that occurred to Plaintiffs; in addition, Nlartin then signed off on the reports, knowing
they were false, and made the decision to hold Plaintiff TOMPKINS, despite the fact
that there was no lawful activity by Hyra and the other defendants to obstruct, and
forward that charge to the prosecutor, knowing that Plaintiff TOMPK|NS had not
interfered with any lawful actions by Defendant Hyra or anyone else, Thus Plaintiff
TOMPKlNS was held at the police station and the jail, without his rights beingb
respected or followed

Defendant Martin participated in the arrest of Plaintlff TOl\/lPKlNS knowing that
Plaintiff TOMPK|NS had not interfered With any lawful actions by Defendant Hyra or
anyone else. Plaintiffs were singled out for discriminatory law enforcement not based
on any criminal activity, which they committed none of, but based on their perceived
political views and affiliations, violating their First Amendment Rights to Freedom of

Speech and Association.

DUNN V. HYRA-PLAINT|FF RYAN TOMPKlNS’s responses to SET ONE OF Discovery requests 6
LAWRENCE A. H|LDES (WSBA # 35035)

P.O. Box 5405

Bellingham, WA 98227

Telephone; (360) 715'9788

Fax: (360) 714-1791

ATTORNEY FOR PLAlNTlFFS

10

ll

12

14

15

16

17

18

19

Case 2:08-cv-00978-.]LR Document 32-6 Filed 06/02/09 Page 8 of 46

5. ln Paragraph 4.2 of the Coniplaint you state, “Defendants acted under color of state law

to deprive Plaintiffs as alleged herein, of certain constitutionally protected rights including but

not limited to:O(d) The riight to be free from unreasonable search and seizure@ O” As to

each defendant, state every fact that supports, negates, or relates to this allegation as it relates to
each such defendant’s acts or omissions vis-a-vis Plaintiff TOMPKINS, identifying each
person and document that you believe has information that assists in establishing each such
fact.

ANSWER: Plaintiff answers as follows: Defendant l\/lartin advised Defendant Hyra to
proceed in accosting Plaintiffs without cause or justification simply because of their
perceived political ideology and affiliations He and Defendant Towne directed Hyra,
Bale, and the other named Defendant Officers in carrying out their illegal and tortious
conduct, and then lied about his observations and signed off on statements that he
knew to be false as to the supposed conduct of Plaintiffs, directly leading the to harm
that occurred to Plaintiffs; in addition, Martin then signed off on the reports knowing
they were false, and made the decision to hold Plaintiff TOMPKINS, despite the fact
that there was no lawful activity by Hyra and the other defendants to obstruct, and
forward that charge to the prosecutor, knowing that Plaintiff TOMPK|NS had not

interfered with any lawful actions by Defendant Hyra or anyone else. Thus Plaintiff

DUNN V. HYRA»PLAlNTlFF RYAN TOMPKlNS`s responses to SET ONE OF Discovery requests 7
LAWRENCE A. HlLDES (WSBA # 35035)

P.O. Box 5405

Bellingham, WA 98227

Telephone: (360) 715-9788

Fax: (360) 714~1791

ATTORNEY FOR PLA|NT|FFS

10

11

13

14

15

16

17

18

19

20

Case 2:08-cv-00978-.]LR Document 32-6 Filed 06/02/09 Page 9 of 46

TOMPKlNS was held at the police station and the jail, without his rights being
respected or followed

Plaintiff TOMPK|NS, was violently seized by, among other officers Sgt. l\/lartin,
who used that force, unjustified as TOMPK|NS had violated no law and was merely
seeking to take a picture of Hyra’s illegal conduct when Hyra rode into him, injured him
and then grabbed him, to arrest him and drag him away all of this vioiating Plaintiff’s

zone of privacy.

6. In Paragraph 4.2 of the Complaint you state, “Defendants acted under color of state law

to deprive Plaintiffs as alleged herein, of certain constitutionally protected rights including but

not limited toi®(e) TThe right to be free from police use of excessive force. . .” As to each

defendant, state every fact that supports, negates, or relates to this allegation as it relates to each
such defendant’s acts or omissions vis-a-vis Plaintiff TOMPKlNS, identifying each person and
document that you believe has information that assists in establishing each such fact. ii
ANSWER: Plaintiff answers as follows: Defendant lVlartin advised Defendant Hyra to
proceed in accosting Plaintiffs Without cause orjustification, simply because of their
perceived political ideology and affiliations He and Defendant Towne directed Hyra,
Bale, and the other named Defendant Officers in carrying out their illegal and tortious
conduct, and then lied about his observations and signed off on statements that he

knew to be false as to the supposed conduct of Plaintiffs directly leading the to harm

DUNN V. HYRA~PLA|NT|FF RYAN TOMPKlNS’ s responses to SET ONE OF Discovery requests 3
LAWRENCE A. HlLDES (WSBA # 35035)

P O Box 5405

Bellingham, WA 98227

Telephone; (360) 715-9788 »

Fax: (360) 714-1791

ATTORNEY FOR PLAlNTlFFS

10

11

12

13

14

15

16

17

18

19

20

Case 2:08-cv-00978-.]LR Document 32-6 Filed 06/02/09 Page 10 of 46

that occurred to Plaintiffs; in addition, l\/lartin then signed off on the reports knowing
they were false, and made the decision to hold Plaintiff TOMPKlNS, despite the fact
that there was no lawful activity by Hyra and the other defendants to obstruct, and
forward that charge to the prosecutor, knowing that Plaintiff TOMPK|NS had not
interfered with any lawful actions by Defendant Hyra or anyone else. Thus Plaintiff
TOMPK|NS Was held at the police station and the jail, without his rights being
respected or followed

Plaintiff TOMPKINS, Was violently seized by, among other officers Sgt. l\/lartin,
who used that force, unjustified as TCMPK|NS had violated no law and was merely
seeking to take a picture of Hyra’s illegal conduct when Hyra rode into him, injured him

and then grabbed him, to arrest him and drag him away.

7. ln Paragraph 4.2 of the Complaint you state, “Defendants acted under color of state law

to deprive Plaintiffs as alleged herein, of certain constitutionally protected rights including but

not limited to:®(f) The right to be free from discriminatory law enforcement@” As to each

defendant, state every fact that supports negates or relates to this allegation as it relates to each
such defendant’s acts or omissions vis~a~vis Plaintiff TOMPKINS, identifying each person and
document that you believe has information that assists in establishing each such fact. b
ANSWER: Plaintiff answers as follows: Defendant Nlartin advised Defendant Hyra to

proceed in accosting Plaintiffs without cause or justification, simply because of their

DUNN V. HYRA-PLAlNTlFF RYAN TOMPKlNS’s responses to SET ONE OF Discovery requests 9
LAWRENCE A. HlLDES (WSBA # 35035)

P.O. Box 5405

Bellingham, WA 98227

Telephone; (360) 715*9788

Fax: (360) 714-1791

ATTORNEY FOR PLAlNT|FFS

10

11

12

13

14

15

16

17

18

19

20

Case 2:08-cv-00978-.]LR Document 32-6 Filed 06/02/09 Page 11 of 46

perceived political ideology and affiliations He and Defendant Towne directed Hyra,
Bale, and the other named Defendant Officers in carrying out their illegal and tortious
conduct, and then lied about his observations and signed off on statements that he
knew to be false as to the supposed conduct of Plaintiffs, directly leading the to harm
that occurred to Plaintiffs; in addition, l\/lartin then signed off on the reports knowing
they were false, and made the decision to hold Plaintiff TOMPKlNS, despite the fact
that there was no lawful activity by Hyra and the other defendants to obstruct, and
forward that charge to the prosecutor, knowing that Plaintiff TOMPK|NS had not
interfered with any lawful actions by Defendant Hyra or anyone else. Thus Plaintiff
TOMPK|NS was held at the police station and the jail, Without his rights being
respected or followed

Defendant l\/lartin participated in the arrest of Plaintiff TOMPK|NS knowing that
Plaintiff TOMPKINS had not interfered with any lawful actions by Defendant Hyra or
anyone else. Plaintiffs were singled out for discriminatory law enforcement not based
on any criminal activity, Which they committed none of, but based on their perceived
political views and affiliations violating their First Amendment Rights to Freedom of

Speech and Association.

8. ln Paragraph 4.2 of the Complaint you state, “Defendants acted under color of state law

to deprive Plaintiffs as alleged herein, of certain constitutionally protected rights including but

DUNN V. HYRA~PLA|NT|FF RYAN TOMPKlNS’s responses to SET ONE OF Discovery requests 10
LAWRENCE A. HlLDES (WSBA # 35035)

P.O. Box 5405

Bellingham, WA 98227

Telephone; (360) 715-9788

Fax: (360) 714-1791

ATTORNEY FOR PLA|NT|FFS

10

11

12

13

14

15

16

17

18

19

20

Case 2:08-cv-00978-.]LR Document 32-6 Filed 06/02/09 Page 12 of 46

not limited tor@(g) The right to be free from cruel and unusual punishment . .” As to each

defendant, state every fact that supports negates or relates to this allegation as it relates to each
such defendant’s acts or omissions vis-a-vis Plaintiff TOMPKINS, identifying each person and
document that you believe has information that assists in establishing each such fact.

ANSWER: Plaintiff answers as follows: Defendant Martin advised Defendant
Hyra to proceed in accosting Plaintiffs without cause or justification, simply because of
their perceived political ideology and affiliations He and Defendant Towne directed
Hyra, Bale, and the other named Defendant Officers in carrying out their illegal and
tortious conduct, and then lied about his observations and signed off on statements
that he knew to be false as to the supposed conduct of Plaintiffs, directly leading the
to harm that occurred to Plaintiffs; in addition, Nlartin then signed off on the reports
knowing they were false, and made the decision to hold Plaintiff TOl\/lPKlNS, despite
the fact that there was no lawful activity by Hyra and the other defendants to obstruct,
and fonivard that charge to the prosecutor, knowing that Plaintiff TOMPKlNS had not
interfered with any lawful actions by Defendant Hyra or anyone else. Thus Plaintiff
TOMPK|NS was held at the police station and the jail, without his rights being
respected or followed

Defendant Martin participated in the arrest of Plaintiff TOl\/lPKlNS knowing that
Plaintiff TOMPKlNS had not interfered With any lawful actions by Defendant Hyra or

anyone else. Plaintiffs were singled out for discriminatory law enforcement not based

DUNN V. HYRA-PLA|NT|FF RYAN TOMPKlNS’s responses to SET ONE OF Discovery requests 1 1
LAWRENCE A. Hll.DES (WSBA # 35035)

P.O. Box 5405

Bellingham, WA 98227

Telephone; (360) 715-9788

Fax: (360) 714-1791

ATTORNEY FOR PLAlNTlFFS

10

11

12

13

14

15

16

17

18

19

20

Case 2:08-cv-00978-.]LR Document 32-6 Filed 06/02/09 Page 13 of 46

on any criminal activity, which they committed none of, but based on their perceived
political views and affiliations violating their First Amendment Rights to Freedom of
Speech and Association.

This constituted an act by Defendants to inflict punishment on Plaintiffs without
benefit of a trial, or any adjudication, despite clear knowledge that Plaintiff had
violated no law. Because of the extremity of Defendants’ actions and the lack of
wrong-doing on the part of Plaintiffs lVlartin’s activity and that of the other Defendants
constitutes cruel and unusual punishment
9. ln Paragraph 4.2 of the Complaint you state, “Defendants acted under color of state law
to deprive Plaintiffs as alleged herein, of certain constitutionally protected rights including but
not limited to:. . .(h) The Rights to participate in a peaceful and lawful First Amendment
exercise, to Freely Express his political views to Petition the Government for Redress of

Grievances, to Freely Associate with and Assemble with others to do so without fear of

wrongful arrest for doing so@” As to each defendant, state every fact that supports negates or

relates to this allegation as it relates to each such defendant’s acts or omissions vis-a-vis
Plaintiff TOMPKINS, identifying each person and document that you believe has information
that assists in establishing each such fact.

ANSWER Plaintiff answers as follows: Defendant l\/lartin advised Defendant Hyra to
proceed in accosting Plaintiffs without cause orjustification, simply because of their
perceived political ideology and affiliations He and Defendant Towne directed Hyra,
DUNN V. HYRA»PLAlNTlFF RYAN TGMPK|NS’s responses to SET GNE OF Discovery requests 12
LAwRENcE A. HlLoEs (wsBA # 35035)

P.o. Box 5405

Bellingham, WA 98227

Telephone; (360) 715~9788
Fax: (360) 714-1791

ATTORNEY FOR PLAlNTlFFS

10

11

12

13

14

15

16

17

18

19

20

21

Case 2:08-cv-00978-.]LR Document 32-6 Filed 06/02/09 Page 14 of 46

Bale, and the other named Defendant Officers in carrying out their illegal and tortious
conduct, and then lied about his observations and signed off on statements that he
knew to be false as to the supposed conduct of Plaintiffs directly leading the to harm
that occurred to Plaintiffs; in addition, Nlartin then signed off on the reports knowing
they were false, and made the decision to hold Plaintiff TOMPK|NS, despite the fact
that there was no lawful activity by Hyra and the other defendants to obstruct, and
fonNard that charge to the prosecutor, knowing that Plaintiff TOMPKlNS had not
interfered with any lawful actions by Defendant Hyra or anyone else. Thus Plaintiff
TOMPK|NS was held at the police station and the jail, without his rights being}
respected or followed

Plaintiffs were singled out for discriminatory law enforcement not based on
any criminal activity, which they committed none of, but based on their perceived
political views and affiliations violating their First Amendment Rights to Freedom of
Speech and Association. This prevented Plaintiffs from participated in the planned
and permitted march, wherein they Would be able to carry out their First Amendment
rights to free speech, expression, and to petition the government for redress of
grievances because the involved officers did not like their perceived politics and the

symbols related thereto,

10. In Paragraph 4.2 of the Cornplaint you state, “Defendants acted under color of state law

to deprive Plaintiffs as alleged herein, of certain constitutionally protected rights including but

DUNN V. HYRA-PLAlNTlFF RYAN TOMPKlNS’s responses to SET ONE OF Discovery requests 13
LAWRENCE A. HlLDES (WSBA # 35035)

P.O. Box 5405

Bellingham, WA 98227

Telephone; (360) 715-9788

Fax: (360) 714-1791

ATTORNEY FOR PLAlNT|FFS

10

11

12

13

14

15

16

17

18

Case 2:08-cv-00978-.]LR Document 32-6 Filed 06/02/09 Page 15 of 46

not limited to:O(i) The riight to be free from False Arrest, False lmprisonment, and l\/lalicious

Prosecution, all in violation of [Plaintiffs’] Fourth and Fifth Amendment Rights.” As to each
defendant, state every fact that supports negates or relates to this allegation as it relates to each
such defendant’s acts or omissions vis-a-vis Plaintiff TOl\/IPKINS, identifying each person and
document that you believe has information that assists in establishing each such fact.
ANSWER: See responses to interrogatories 1-9 as to Sgt, Martin. ln addition, by
writing, signing off on and sending false reports as to activities that Plaintiff had not
engaged in, Sgt. Martin caused Plaintiff TOMPKlNS to be prosecuted despite his
having committed no crime, terminated months later when the court dismissed for lack
of probable cause.

11. ln Paragraph 4.3 of the Complaint you state, “Defendants acted by provocative conduct

9.” As to each defendant, state every fact that supports negates or relates to this allegation as

it relates to each such defendant’s acts or omissions vis-a-vis Plaintiff TOl\/IPKINS, identifying
each person and document that you believe has information that assists in establishing each
such fact.

ANSWER: See responses to lnterrogatories 1-10. All of this conduct was designed to

provoke a response to justify the arrests when it didn’t do so, they arrested Plaintiffs

anyway

DUNN V. H¥RA-PLAINTIFF RYAN TOMPK|NS’s responses to SET ONE OF Discovery requests 14
LAWRENCE A, HlLDES (WSBA # 35035)

P.O. Box 5405

Bellingham, WA 98227

Telephone; (360) 715-9788

Fax: (360) 714-1791

ATTORNEY FOR PLAlNT|FFS

10

11

12

13

14

15

16

17

Case 2:08-cv-00978-.]LR Document 32-6 Filed 06/02/09 Page 16 of 46

12. ln Paragraph 4.3 of the Complaint you state, “Defendants acted by [Oj conversion of

lawful property 9.” As to each defendant, state every fact that supports negates or relates to

this allegation as it relates to each such defendant”s acts or omissions vis~a-vis Plaintiff
TOMPKINS, identifying each person and document that you believe has information that
assists in establishing each such fact.

ANSWER: Plaintiff was lawfully possessed a flag that belonged to Plaintiff Dunn, a
First Amendment protected symbol. Nlartin acted to justify and enforce Hyra’s illegal

conversion of that flag, which continues to this day.

13. In Paragraph 4.3 of the Complaint you state, “Defendants acted by [Oj verbal threat and

intimidation O.” As to each defendant, state every fact that supports negates or relates to this

allegation as it relates to each such defendant’s acts or omissions vis-a~vis Plaintiff
TOl\/IPKlNS, identifying each person and document that you believe has information that
assists in establishing each such fact.

ANSWER: See responses to Interrogatory 1-12.

14. ln Paragraph 4.3 of the Complaint you state, “Defendants acted by [0] use of force

9.”<9 9 As to each defendant, state every fact that supports negates or relates to this

allegation as it relates to each such defendant’s acts or omissions vis-a-vis Plaintiff

DUNN V. HYRA-PLAlNTlFF RYAN TOlViPKlNS’s responses to SET CNE OF Discovery requests 15
LAWRENCE A. HlLDES (WSBA # 35035)

P.O. Box 5405

Bellingham, WA 98227

Telephone; (360) 715-9788

Fax: (360) 714*1791

ATTORNEY FOR PLA|NTlFFS

10

11

12

13

14

15

16

17

18

19

Case 2:08-cV-00978-.]LR Document 32-6 Filed 06/02/09 Page 17 of 46

TOl\/IPKINS, identifying each person and document that you believe has information that
assists in establishing each such fact.
ANSWER: Plaintiff answers as follows: Defendant l\/lartin advised Defendant Hyra to
proceed in accosting Plaintiffs without cause or justification, simply because of their
perceived politicai ideology and affiliations l-le and Defendant Towne directed l-lyra,
Bale, and the other named Defendant Officers in carrying out their illegal and tortious
conduct, and then lied about his observations and signed off on statements that he
knew to be false as to the supposed conduct of Plaintiffs, directly leading the to harm
that occurred to Plaintiffs; in addition, Martin then signed off on the reports, knowing
they were false, and made the decision to hold Plaintiff TOMPKlNS, despite the fact
that there Was no lawful activity by Hyra and the other defendants to obstruct, and
forward that charge to the prosecutor, knowing that Plaintiff TOMPKINS had not
interfered with any lawful actions by Defendant Hyra or anyone else. Thus Plaintiff
TOlVlPKlNS was held at the police station and the jail, without his rights being,
respected or followed

Plaintiff TOl\/lPKlNS, was violently seized by, among other officers, Sgt. Martin, Who
used that force, unjustified as TOMPK|NS had violated no law, to arrest him and drag

him away.

DUNN V. HYRA-PLAINTlFF RYAN TOMPKlNS’s responses to SET ONE OF Discovery requests 16
LAWRENCE A. HlLDES (WSBA # 35035)

P.O. Box 5405

Bellingham, WA 98227

Telephone; (360) 715~9788

Fax: (360) 714-1791

ATTORNEY FOR PLA|NT|FFS

10

11

12

13

14

15

16

17

18

19

Case 2:08-cv-00978-.]LR Document 32-6 Filed 06/02/09 Page 18 of 46

15. In Paragraph 4.3 of the Complaint you state, “Defendants acted by [O] unjustified arrest

9.” As to each defendant, state every fact that supports, negates, or relates to this allegation as

it relates to each such defendant’s acts or omissions vis~a~vis Plaintiff T()l\/I PKINS, identifying
each person and document that you believe has information that assists in establishing each
such fact.

ANSWER: See responses to interrogatories 1-14

16. In Paragraph 4.3 of the Complaint you state, “Defendants acted by 101 false

imprisonment O.”&nbssp; As to each defendant, state every fact that supports, negates, or

relates to this allegation as it relates to each such defendant’s acts or omissions vis-a-vis
Plaintiff TOMPKINS, identifying each person and document that you believe has information
that assists in establishing each such fact.

ANSWER: PLAlNTlFF objects to this interrogatory as actually constituting 9
interrogatories which combined with the other interrogatories far exceeds the limit as
to interrogatories Plaintiff will, therefore, answer as to this Defendant alone. Plaintiff
answers as follows Plaintiff answers as follows: Defendant l\/lartin advised Defendant
Hyra to proceed in accosting Plaintiffs Without cause orjustification, simply because of
their perceived political ideology and affiliations He and Defendant Towne directed
Hyra, Bale, and the other named Defendant Officers in carrying out their illegal and

tortious conduct, and then lied about his observations and signed off on statements

DUNN V. HYRA-PLA|NTlFF RYAN TOMPK|NS’s responses to SET ONE OF Discovery requests 17
LAWRENCE A. H|LDES (WSBA # 35035)

P.O. Box 5405

Bellingham, WA 98227

Telephone; (360) 715-9788

Fax: (360) 714~1791

ATTORNEY FOR PLAlNT|FFS

10

11

12

13

14

15

16

17

18

19

Case 2:08-cv-00978-.]LR Document 32-6 Filed 06/02/09 Page 19 of 46

that he knew to be false as to the supposed conduct of Plaintiffs, directly leading the
to harm that occurred to Plaintiffs; in addition, l\/lartin then signed off on the reports,
knowing they Were false, and made the decision to hold Plaintiff TOl\/iPKlNS, despite
the fact that there was no lawful activity by Hyra and the other defendants to obstruct,
and fon/vard that charge to the prosecutor, knowing that Plaintiff TOl\/lPKlNS had not
interfered with any lawful actions by Defendant Hyra or anyone else. Thus Plaintiff
TOMPKlNS was held at the police station and the jail, without his rights being
respected or followed

Plaintiff TOMPKiNS, was violently seized by, among other officers, Sgt. l\/lartin, who
used that force, unjustified as TOMPKINS had violated no law, to arrest him and drag

him away.

17. ln Paragraph 4.3 of the Complaint you state, “Defendants acted by [ 91 ratifying

personally tthe above listed conducts O.” As to each defendant, state every fact that supports,

negates, or relates to this allegation as it relates to each such defendant’s acts or omissions vis-
a-vis Plaintiff TOMPKINS, identifying each person and document that you believe has
information that assists in establishing each such fact.

ANSWER: SEE REPOSNES TO lNTERROGATORlES 1-'16.

DUNN V. HYRA-PLA|NTlFF RYAN TOMPKlNS`s responses to SET ONE OF Discovery requests 18
LAWRENCE A. Hll_DES (WSBA # 35035)

P.O. Box 5405

Bellingham, WA 98227

Telephone; (360) 715-9788

Fax: (360) 714-1791

ATTORNEY FOR PLAlNT|FFS

I\)

10

11

12

13

14

15

16

17

18

19

20

Case 2:08-cv-00978-.]LR Document 32-6 Filed 06/02/09 Page 20 of 46

18. In Paragraph 4.3 of the Complaint you state, “Defendants acted by 101 cruel and

unusuual punishment O.”&nbssp; As to each defendant, state every fact that supports negates,

or relates to this allegation as it relates to each such defendant’s acts or omissions vis-a-vis
Plaintiff TOMPKTNS, identifying each person and document that you believe has information
that assists in establishing each such fact.

ANSWER: Plaintiff answers as follows: Defendant Martin advised Defendant
Hyra to proceed in accosting Plaintiffs without cause or justification, simply because of
their perceived political ideology and affiliations He and Defendant Towne directed
Hyra, Bale, and the other named Defendant Officers in carrying out their illegal and
tortious conduct, and then lied about his observations and signed off on statements
that he knew to be false as to the supposed conduct of Plaintiffs directly leading the
to harm that occurred to Plaintiffs; in addition, l\/lartin then signed off on the reports,
knowing they were false, and made the decision to hold Plaintiff TOl\/lPKlNS, despite
the fact that there was no lawful activity by Hyra and the other defendants to obstruct,
and forward that charge to the prosecutor, knowing that Plaintiff TOMPKlNS had not
interfered with any lawful actions by Defendant Hyra or anyone else. Thus Plaintiff
TOl\/lPKlNS was held at the police station and the jail, without his rights being
respected or followed

Defendant lVlartin participated in the arrest of Plaintiff TOl\/lPKlNS knowing that

Plaintiff TOMPKlNS had not interfered with any lawful actions by Defendant Hyra or

DUNN V. HYRA-PLAlNTlFF RYAN TOlVlPKlNS’s responses to SET ONE OF Discovery requests 19
LAWRENCE A_ HlLDES (WSBA # 35035)

P.O. Box 5405

Bellingham, WA 98227

Telephone; (360) 715-9788

Fax: (360) 714-1791

ATl'ORNEY FOR PLAlNTlFFS

10

11

12

13

14

15

16

l7

18

19

20

Case 2:08-cv-00978-.]LR Document 32-6 Filed 06/02/09 Page 21 of 46

anyone else. Plaintiffs were singled out for discriminatory law enforcement not based
on any criminal activity, which they committed none of, but based on their perceived
political views and affiliations, violating their First Amendment Rights to Freedom of
Speech and Association.

This constituted an act by Defendants to inflict punishment on Plaintiffs without
benefit of a trial, or any adjudication, despite clear knowledge that Plaintiff had
violated no law. Because of the extremity of Defendants’ actions and the lack of
wrong-doing on the part of Plaintiffs, Martin’s activity and that of the other Defendants

constitutes cruel and unusual punishment

19. ln Paragraph 4.4 of the Complaint you state, “[b]y knowingly providing false

information to the prosecutors to ensure that Plaintiffs Were prosecuted@.” AAs to each

defendant, state every fact that supports, negates, or relates to your allegation that fatse
information Was provided to the prosecutor to ensure prosecution, identifying each person and
document that you believehas information that assists in establishing each such fact.
ANSWER: See responses to lnterrogatories 1-8 as to Sgt,. l\/lartin. ln addition,
by writing, signing off on and sending false reports as to activities that Plaintiff had not
engaged in, Sgt. l\/iartin caused Plaintiff TOl\/lPKlNS to be prosecuted, despite his
having committed no crime, terminated many moths later when the court dismissed

the case for lack of probable cause based on the illegality of the Officers’ conduct.

DUNN V. HYRA-PLA|NT|FF RYAN TOMPKINS’s responses to SET ONE OF Discovery requests 2()
LAWRENCE A. HlLDES (WSBA # 35035)

P.O. Box 5405

Bellingham, WA 98227

Telephone; (360) 715-9788

Fax: (360) 714-1791

ATTORNEY FOR PLAlNTlFFS

10

ll

12

13

14

15

16

17

18

19

20

21

Case 2:08-cv-00978-.]LR Document 32-6 Filed O6/O2/09 Page 22 of 46

20. In Paragraph 2.24 (page 13, 11. 1~2) of the Complaint, you state that “fhese actions were
ratified by supervising Defendants MARTlN, HAYES, and TOWNES.” State every fact that
supports, negates, or relates to this allegation as it relates to Sgt. Martin’s actions with respect
to Plaintiff TOMPKINS, identifying each person and document that you believe has
information that assists in establishing each such fact.

ANSWER: Plaintiff answers as follows: Defendant Martin advised Defendant
Hyra to proceed in accosting Plaintiffs without cause orjustification, simply because of
their perceived political ideology and affiliations He and Defendant Towne directed
Hyra, Bale, and the other named Defendant Officers in carrying out their illegal and
tortious conduct, and then lied about his observations and signed off on statements
that he knew to be false as to the supposed conduct of Plaintiffs, directly leading the
to harm that occurred to Plaintiffs; in addition, l\/lartin then signed off on the reports,
knowing they were false, and made the decision to hold Plaintiff TOl\/lPKlNS, despite
the fact that there was no lawful activity by Hyra and the other defendants to obstruct,
and fonivard that charge to the prosecutor, knowing that Plaintiff TOMPK|NS had not
interfered with any lawful actions by Defendant Hyra or anyone else. Thus Plaintiff
TOMPK|NS was held at the police station and the jail, without his rights being
respected or followed

Defendant Martin participated in the arrest of Plaintiff TOl\/lPKlNS knowing that
Plaintiff TOMPKINS had not interfered with any lawful actions by Defendant Hyra or

anyone else. Plaintiffs were singled out for discriminatory law enforcement not based

DUNN V. H¥RA-PLAlNTlFF RYAN TOMPKlNS’s responses to SET ONE OF Discovery requests 21
LAWRENCE A4 HlLDES (WSBA # 35035)

P,G. Box 5405

Bellingham, WA 98227

Telephone; (360) 715-9788

Fax: (360) 714-1791

ATTORNEY FOR PLA|NT|FFS

10

11
12

13

14

15

16

17

18

19
20
21

Case 2:08-cv-00978-.]LR Document 32-6 Filed O6/O2/09 Page 23 of 46

on any criminal activity, which they committed none of, but based on their perceived
political views and affiliations, violating their First Amendment Rights to Freedom of
Speech and Association.

This constituted an act by Defendants to inflict punishment on Plaintiffs»without
benefit of a trial, or any adjudication, despite clear knowledge that Plaintiff had
violated no law. Because of the extremity of Defendants’ actions and the lack of
wrong-doing on the part of Plaintiffs, Martin’s’activity and that of the other Defendants
constitutes cruel and unusual punishment

See police reports and dismissal order by Judge Hightower.

21.State all claims asserted bv Plaintiff TOMPK|NS against Sqt. Martin, and, as to

each, set forth each and every fact that supports nedates, or relates to such claim.
ANSWER: SEE RESPONSES TO lNTERROGATPRlES 1-20. Violation of

Constitutional Rights under color of authority and all common law torts alleged

22. Below you will find requests for production. F or each document that is responsive to
the requests for production which you either produced in redacted form or did not produce at

all, identify the document and the basis for the redaction or failure to produce it.

ANSWER: Plaintiff will produce all relevant documents

VI. REOUESTS F()R PRODUCTION

1. Produce any document identified in any of the answers to the preceding interrogatories
DUNN V. HYRA-PLA|NTlFF RYAN TOMPKlNS’s responses to SET ONE OF Discovery requests 22
LAwRENcE A. HlLDES <wsBA # 35035)

P.o. Box 5405

Bellingham, WA 98227
Telephone; (360) 715¢9788
Fax: (360) 714-1791

ATTORNEY FOR PLAlNTlFFS

10

11

12

13

14

15

16

17

18

19
20

21
22

23

Case 2:08-cv-00978-.]LR Document 32-6 Filed O6/O2/09 Page 24 of 46

RESPONSE: PLAINTIFF WILL PRODUCE ALL SUCH DOCUMENTS

2. Produce a copy of any document you reviewed in answering any of the preceding
interrogatories and/or preceding or subsequent requests for production irrespective of whether
you obtained any part of your answer or response from that document

RESPONSE: PLAINTIFF WILL PR()DUCE ALL SUCH DOCUMENTS

3. Produce all documents that you contend support, or lend support to, any of your

responses to the above interrogatories

RESP()NSE: PLAINTIFF WILL PRODUCE ALL SUCH D()CUMENTS
4. Produce all documents that you contend support, negate, or relate to the claims asserted

by Plaintiff TOMPKINS against Sgt. Martin.

RESPONSE: PLAINTIFF WILL PRODUCE ALL SUCH DOCUMENTS
VERIFlCATI()N

I, RYAN TOMPKINS, certify and declare under penalty of perjury under the laws of the State

of Washington and the United States that I am a Plaintiff in this action, and that l have read the

answers to the foregoing interrogatories and requests for production and the answers thereto,

know the contents thereof, and believe all the answers to be true.

 

 

 

SIGNED at , , on this _ day of
, 2009.
RYAN TOMPKINS
DUNN V. H¥RA-PLAlNTlFF RYAN TOMPKlNS’s responses to SET ONE OF Discovery requests 23
LAWRENCE A. HlLDES (WSBA # 35035)
P.O. Box 5405

Bellingham, WA 98227
Telephone: (360) 715~9788
Fax: (360) 714-1791

ATTORNEY FOR PLAlNTlFFS

OO\IO\UI~DL)J[\)*-‘

14

15
16
17
18
19
20
21

22

Case 2:08-cv-00978-.]LR Document 32-6 Filed O6/O2/09 Page 25 of 46

ATTORNEY’S CR 26 CERTIFICATION

The undersigned attorney certifies, pursuant to Civil Rule 26(g), that he has read each
response and objection to these discovery requests, and that, to the best of his knowledge
information, and belief formed after a reasonable inquiry, each is: (1) consistent with the
Federal Rules of Civil Procedure and warranted by existing law or a good-faith argument for
the extension, modification, or reversal of existing law; (2) not interposed for any improper
purpose, such as to harass or to cause unnecessary delay or needless increase in the costs of
litigation; and (3) not unreasonably or unduly burdensome or expensive, given the needs of the
case, the discovery already had in the case, the amount in controversy, and the importance of
the issues at stake in the litigation

     

 

 

 

“§ §§ §
REsPoNsEs dated this §§§§.§day er , 2009 at § ~r c ,
Washington.
':F
\W/ fit
ssaseaaaeeas§
Lawrence A. Hildes, WSBA #35035
Attorney for Plaintiffs
DUNN V. HYRA-PLAlNTlFf-` RYAN TOMPKlNS’s responses to SET ONE OF Discovery requests 1 24
LAwRENcE A. HlLDES (WSBA # 35035) ”
P.O. Box 5405 \

Bellingham, WA 98227
Telephone; (360) 715-9788
Fax: (360) 714-1791

ATTORNEY FOR PLAlNTIFFS

\lO\U`i-$>~'»..»JI\J'-'*

10
11
12

13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
29
30
31
32
33
34

Case 2:08-cv-00978-.]LR Document 32-6 Filed O6/O2/09 Page 26 of 46

PRO()F OF SERVICE
Lawrence A. Hildes certifies as follows:
1 am over the age of 18 years, and not a party to this action. 1 am a citizen of the United States.
My business address is P.O. Box 5405, Bellingham, WA 98227
On April 6, 2009, 1 served the following documents(s) described as follows

PLAINTIFF’S RESP()NSES TO SET ONE OF RFAs from All Defendants
on the following persons(s) in this action at the following addresses:

HEATHER CARR
STAFFORD FRYE COOPER
601 Union Street, Suite 3100
Seattle WA 98101.1374

[x ] (BY FlRST CLASS MAIL) by placing a true copy of the above documents in a sealed
envelope with postage fully prepaid in the mail at Bellingham, WA, addressed to the person(s)
above at the above address

[ ] By electronically serving, by filing an electronic copy with the court in such a way that
notice will be sent to counsel for Defendant

[X] (FEDERAL) I declare under penalty of perjury that l am a member of the BAR of this
court, and that the above information is true and correct.

Executed on May 12, 2009, at Bellingham, Washington.

~., ,fs,~~»"-~m~”/A,s€,¢~§ '~

y,§ ,.
1_ / f s

LAWRENCE A. HlLDES

 

 

 

DUNN V. HYRA~PLAlNTlFF RYAN TOMPKlNS’s responses to SET GNE OF Discovery requests 25
LAWRENCE A. HlLDES (WSBA # 35035)

P.O. Box 5405

Bellingham, WA 98227

Telephone: (360) 715-9788

Fax: (360) 714-1791

AT`TORNEY FOR PLAlNTlFFS

Case 2:08-cv-00978-.]LR Document 32-6 Filed O6/O2/09 Page 27 of 46

EXH|B|T 7

31
32
33

Case 2:08-cv-00978-.]LR Document 32-6 Filed O6/O2/09 Page 28 of 46

THE HONORABLE JAl\/lES i. ROBART

 

|N THE UN|TED STATES DlSTR|CT COURT
FOR THE WESTERN DlSTR|CT 0F WASH|NGTON

BRENDAN DUNN, JACOB ERW|N, ) NO. 2:08-cv-00978JLR

and RYAN TOMPK|NS, ) PLAlNTlFF BRENDAN DUNN’S
) RESPONSES TO SET ONE OF
Plaintiffs, ) DlSCOVERY REQUESTS FROM

) DEFENDANT TOWNE
v.

MATTHEW HYRA, ClTY OF
SEATTLE (SPD), et al.,

Defendants.

v`r`/vvvv

 

PROPOUND|NG PARTY: DEFENDANT TOWNE
RESPOND|NG PARTY: PLAlNTlFF BRENDAN DUNN
SET NO.: 1

COMES NOW PLA|NT|FF BRENDAN DUNN, lN THE ABOVE-NAl\/|ED
ACT|ON, THROUGH HlS ATTORNEY LAVVRENCE A. HlLDES, AND, RESPONDS
TO DEFENDANT TOWNE’S SET ONE OF DlSCOVERY REQUESTS AS FOLLOWS:

DUNN V. HYRA-PLAlNTlFF Brendan Dunn’s Responses to SET 1 of Discovery Requests from Defendant
Towne

LAWRENCE A. HlLDES (WSBA # 35035)

P.O. Box 5405

Bellingham, VVA 98227

Telephone; (360) 715-9788

Fax: (360) 714-1791

A`ITORNEY FOR PLAINTIFFS

\OOO-]O\

10
11

13
14
15
16
17
18
19
20
21
22

Case 2:08-cv-00978-.]LR Document 32-6 Filed O6/O2/09 Page 29 of 46

Plaintiffs object to the extent that Defendants have exceeded the limits for this
type of discovery, or have used subparts and definitions to facilitate exceeding the
limits by propounding the extreme number of 84 Requests for Admissions of this
Plaintiff and even far more extreme numbers as to the other Plaintiffs and by piling
massive and ridiculous numbers of sets of discovery requests and requests within
those sets in order to render it impossible for Plaintiffs to fully respond .

Plaintiffs object to Defendants’ use of discovery to vex, annoy, and abuse the
legal process rather than for legitimate discovery purposes Here, Defendants ask
questions where the answers are either already contained in the document or require
legal conclusions that themselves require advanced legal training ln many ofthese
sets, Defendants have propounded interrogatories that included extensive subparts,
totaling over the limit for interrogatories

Finally, Plaintiffs object to counsel for Defendants deliberate propounding of
these discovery requests while counsel for Plaintiffs was on vacation and during a
period that counsel had filed a notice of unavailability for and then refusing to agree to
an extension of time specifically to respond to these RFAs despite direct knowledge
that counsel for Plaintiffs was away for several days of the period involved

Discovery is ongoing, and Plaintiffs reserve the right to correct amend
supplement or change their answers to this set of discovery as further information is

revealed during the course of discovery.

DUNN V. HYRA»Pl_AlNTlFF Brendan Dunn’s Responses to SET 1 of Discovery Requests from Defendant 2
Towne

LAWRENCE A. HlLDES (WSBA # 35035)

P,O. Box 5405

Bellingham, WA 98227

Telephone; (360) 715»9788

Fax: (360) 714-1791

ATTORNEY FOR PLA|NTIFFS

10

11

12

13

14

15

16

17

18

19

20

21

Case 2:08-cv-00978-.]LR Document 32-6 Filed O6/O2/09 Page 30 of 46

RESPONSES TO DlSCOVERY REQUESTS
SET ONE OF DlSCOVERY REQUESTS

lNTERROGATORlES

1. identify every person who participated in answering any of these interrogatories and/or
requests for production, designating the interrogatory(ies) and/or request(s) for production in
which he or she participated in answering
ANSWER: My attorney, Lawrence A. l-lildes.
2. State every fact that supports, negates, or relates to your allegations in Paragraph 4.10 of
the Complaint that Lieutenant Towne ratified and approved [the] inappropriate, illegal, and
tortious conduct and intentional acts of Defendants Hyra, Bales, Roberson, Skommesa, Avery,
Greeley, and Martin to deprive Plaintiff Dunn of his rights, identifying each person and
document that you believe has information that assists in establishing each such fact..

ANSWER: PLAlNTlFF objects to this interrogatory as actually constituting 7
interrogatories7 which combined with the other interrogatories far exceeds the limit as
to interrogatories Plaintiff will, therefore, answer as to this Defendant alone. Plaintiff
answers as follows: Defendant Hyra spoke with Defendants Towne and l\/lartin, who
specifically approved his course of illegal conduct They then observed the illegal
conduct by the Officers listed in the interrogatory ln addition, TOWNE then signed off
on the reports, knowing they were false, and made the decision to hold Plaintiff Dunn
on a felony assault charge and forward that charge to the prosecutor knowing that

Plaintiff Dunn had not assaulted Hyra or anyone else. Thus Plaintiff Dunn was held at

DUNN V. HVRA-PLA|NTlFF Brendan Dunn’s Responses to SET 1 of Discovery Requests from Defendant 3
Towne

LAWRENCE A. HlLDES (WSBA # 35035)

P.O. Box 5405

Bellingham, WA 98227

Telephone; (360) 715-9788

Fax: (360) 714-1791

A'l_|'ORNEY FOR PLA|NT|FFS

10

11

12

13

14

15

16

17

18

19

20

Case 2:08-cv-00978-.]LR Document 32-6 Filed O6/O2/09 Page 31 of 46

the police station and the jail, without his rights being respected or followed See the
reports and Defendant Hyra’s answers to interrogatories

3. State every fact that supports, negates, or relates to your allegations in Paragraph 4.10 of "
the Complaint that Lieutenant Towne failed to properly supervise, train, and discipline
Defendants Hyra, Bales, Roberson, Sl<ommesa, Avery, and Greeley as the al§eged failure relates
to Plaintiff Dunn, identifying each person and document that you believe has information that
assists in establishing each such fact.

ANSWER: PLAlNTlFF objects to this interrogatory as actually constituting 7
interrogatories which combined with the other interrogatories far exceeds the limit as
to interrogatories Plaintiff will, therefore, answer as to this Defendant alone. Plaintiff
answers as follows: Defendant Hyra spoke with Defendants Towne and l\/lartin, who
specifically approved his course of iliegal conduct They then observed the illegal
conduct by the Officers listed in the interrogatory ln addition, TOWNE then signed off
on the reports, knowing they were false, and made the decision to hold Plaintiff Dunn
on a felony assault charge and forward that charge to the prosecutor knowing that
Plaintiff Dunn had not assaulted Hyra or anyone else. Thus Plaintiff Dunn was held at
the police station and the jail, without his rights being respected or followed See the
reports and Defendant Hyra’s answers to interrogatories All of this constitutes failure
to properly supervise ln addition, by approving and ratifying the conduct, Defendant

Towne trained Defendants to engage in specifically Constitutionally violative conduct,

DUNN V. HYRA-PLAlNTlFF Brendan Dunn’s Responses to SET 1 of Discovery Requests from Defendant 4
Towne

LAWRENCE A_ HlLDES (WSBA # 35035)

P.O. Box 5405

Bellingham, WA 98227

Telephone; (360) 715-9788

Fax: (360) 714~1791

ATTORNEY FOR PLAlNT|FFS

10

11

12

13

14

15

16

17

18

19

20

Case 2:08-cv-00978-.]LR Document 32-6 Filed 06/02/09 Page 32 of 46

ln addition, there is no evidence that any of the Defendants were ever investigated or

disciplined for any aspect of this incident

4. In Paragraph 2.24 (page 13, ll. 1~2) of the Complaint, you state These actions
Were ratified by supervising Defendants MARTIN, HAYES, and TOWNES. State every fact
that supports, negates, or relates to this allegation as it relates to Lt. Townes actions With
respect to Plaintiff Dunn, identifying each person and document that you believe has y
information that assists in establishing each such fact.

ANSWER: See response to interrogatory 3 above..

5. State all claims asserted by Plaintiff Dunn against Lt. Townez and, as to
each, set forth each and every fact that supports, negates, or relates to such claim.

ANSWER: Plaintiff answers as follows: Defendant TOWNE approved Hyra’s
course of conduct as his supervisor in advance, leading directly to all of the harm
involved ln addition, TOWNE then signed off on the reports, knowing they were false,
and made the decision to hold Plaintiff Dunn on a felony assault charge and forward
that charge to the prosecutor, knowing that Plaintiff Dunn had not assaulted Hyra or
anyone else. Thus Plaintiff Dunn was held at the police station and the jail, without his
rights being respected or followed Defendant Dunn acted to legitimize and signed off
on Hyra’s wrongful seizure of Plaintiff Dunn’s flag, unjustified by law, and then the

unlawful arrest of Dunn, which he lied about. ln addition, Defendant Towne continued

DUNN V. HYRA-PLAlNTlFF Brendan Dunn’s Responses to SET 1 of Discovery Requests from Defendant 5
Towne

LAWRENCE A. HlLDES (WSBA # 35035)

P.O. Box 5405

Bellingham, WA 98227

Telephone; (360) 715»9788

Fax: (360) 714~1791

ATTORNEY FOR PU\|NT|FFS

10

11
12
13
14
15
16
17
18
19
20

Case 2:08-cv-00978-.]LR Document 32-6 Filed 06/02/09 Page 33 of 46

to supervise Defendants’ actions in relation to this incident, subsequent to Plaintiffs'
arrests Therefore, Defendant Towne is liable for the Civil Rights Violations, as well as
all of the Torts, since they directly resulted from his supervision See Plaintiff’s claims,

Defendants reports, and discovery responses of Hyra,

6. Below you will find requests for production For each document that is
responsive to the requests for production which you either produced in redacted form or did not
produce at all, identify the document and the basis for the redaction or failure to produce it.

ANSWER: ln addition to the above documents, see the letter from the attorney for the

Seattle Police Department to counsel for Plaintiff`s re: the alert code on Plaintiff Dunn.

VI. REOUESTS FOR PRODUCTION
1. Produce any document identified in any of the answers to the preceding interrogatories
RESPONSE: PLAINTIFF WILL PRODUCE ALL SUCH DOCUMENTS
2. Produce a copy of any document you reviewed in answering any of the preceding
interrogatories and/or preceding or subsequent requests for production irrespective of whether
you obtained any part of your answer or response from that document
RESPONSE: PLAINTIFF WILL PRODUCE ALL SUCH DOCUMENTS
3. Produce all documents that you contend support, or lend support to, any of your
responses to the above interrogatories

RESPONSE: PLAINTIFF WILL PRODUCE ALL SUCH D()CUMEN”E`S

DUNN V. HYRA-PLAlNTlFF Brendan Dunn’s Responses to SET 1 of Discovery Requests from Defendant 6
Towne `
LAWRENCE A. HlLDES (WSBA # 35035)

P.O. Box 5405

Bellingham, WA 98227

Telephone; (360) 715~9788

Fax: (360) 714-1791

ATTORNEY FOR PLA|NTlFFS

l\.)

Case 2:08-cv-00978-.]LR Document 32-6 Filed 06/02/09 Page 34 of 46

4. Produce all documents that you contend support, negate, or relate to the claims asserted
by Plaintiff Dunn against LT. Towne.

RESPONSE: PLAINTIFF WILL PROI)UCE ALL SUCH DOCUMEN"E`S

DUNN V. HYRA~PLAlNTlFF Brendan Dunn’s Responses to SET 1 of Discovery Requests from Defendant
Towne

LAWRENCE A. HlLDES (WSBA # 35035)

P.O. Box 5405

Bellingham, WA 98227

Telephone; (360) 715~9788

Fax: (360) 714~1791

A'ITORNEY FOR PLA\NTlFFS

,_>

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

27
28
29
30

31

32
33

Case 2:08-cv-00978-.]LR Document 32-6 Filed 06/02/09 Page 35 of 46

VERIFICATION TO F()LL()W
l, Brendan Dunn, certify and declare under penalty of perjury under the laws of the State of
Washington and the United States that l am a Plaintiff in this action, and 1that l have read the
answers to the foregoing interrogatories and requests for production and the answers thereto,
know the contents thereof, and believe all the answers to be true.
SIGNED at , , on this gw__* day of

, 2009.

 

 

Brendan Dunn
ATTORNEY’S CR 26 CERTIFICATION

The undersigned attorney certifies, pursuant to Civil Rule 26(g), that he has read each
response and objection to these discovery requests, and that, to the best of his knowledge
information, and belief formed after a reasonable inquiry, each is: (1) consistent with the
Federal Rules of Civil Procedure and warranted by existing law or a good-faith argument for
the extension, modification, or reversal of existing law; (2) not interposed for any improper
purpose, such as to harass or to cause unnecessary delay or needless increase in the costs of
litigation; and (3) not unreasonably or unduly burdensome or expensive, given the needs of the ‘
case, the discovery already had in the case, the amount in controversy, and the importance of
the issues at stake in the litigation
ila §§ ,
day of § ,~/

 

§
RESPONSES dated this 25

 

 

 

Washington.
Lawrence A. Hildes, WSBA #35035
Attorney for Plaintiffs
DUNN V. HYRA-PLA!NTlFF Brendan Dunn’s Responses to SET 1 of Discovery Requests from Defendant 8
Towne
LAWRENCE A. HlLDES (WSBA # 35035)
P.O. Box 5405

Bellingham, WA 98227
Telephone: (360) 715~9788
Fax: (360) 714-1791

ATTORNEY FOR PLA|NT|FFS

O\ U\-l-\-Wl\)'-*

~"‘CD\OCO-~.]

13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
29
30
31
32
33

Case 2:08-cv-00978-.]LR Document 32-6 Filed 06/02/09 Page 36 of 46

PR()()F OF SERVICE
Lawrence A. Hildes certifies as follows:
l am over the age of 18 years, and not a party to this action. 1 am a citizen of the 11 nited States.
My business address is P.O. Box 5405, Bellingham, WA 98227
On May 26, 2009, l served the following documents(s) described as follows

PLAINTIFF’S RESPONSES TO SET ONE OF DlSCOVERY REQYESTSs from Defendant
TOWNE
on the following persons(s) in this action at the following addresses:

HEATHER CARR
STAFFORD FRYE COOPER
601 Union Street, Suite 3100
Seattle WA 98101.1374

[X j (BY FIRST CLASS MAlL) by placing a true copy of the above documents in a sealed
envelope with postage fully prepaid in the mail at Bellingham, WA, addressed to the person(s)
above at the above address

[ ] By electronically serving, by filing an electronic copy with the court in such a way that
notice will be sent to counsel for Defendant

[X] (FEDERAL) l declare under penalty of perjury that 1 am a member of the BAR of this
court, and that the above information is true and correct. »

Executed on May 26, 2009, at Bellingham, Washington.

::?W §§ %¢,W ».…

LAWRENCE A. HlLDES

 

»…¢§;:1':/ ;..AM y §

 

DUNN V. HYRA~PLAlNTlFF Brendan Dunn’ s Responses to SET 1 of Discovery Requests from Defendant
Towne

LAWRENCE A. HlLDES (WSBA # 35035)

P.O. Box 5405

Bellingham, WA 98227

Telephone; (360) 715-9788

Fax: (360) 714-1791

A`l`l`ORNEV FOR PLAINT|FFS

Case 2:08-cV-00978-.]LR Document 32-6 Filed 06/02/09 Page 37 of 46

EXH|B|T 8

\OOO‘-~)O\Ud-l> K.»J 1\) '-‘

[\)N[\)l\)l\)¥\)l\)f\)»-‘>-\-d»-l)-¢»-¢»_¢»-‘»_¢»_¢
\lO\U\-¥>-L»)l\)--*O\OOO`~)O`\L}I-I>WI\)”_‘O

MNN
O\GOQ

31
32
33

Case 2:08-cV-00978-.]LR Document 32-6 Filed 06/02/09 Page 38 of 46

THE HONORABLE JAN|ES L. ROBART

 

lN THE UN|TED STATES DlSTR|CT COURT
FOR THE WESTERN DlSTR|CT OF WASH|NGTON

BRENDAN DUNN, JACOB ERW|N, ) NO. 2:08-cv-00978JLR

and RYAN TOMPK|NS, ) PLA|NT|FF JACOB ERW|N’S
) RESPONSES TO SET ONE OF
Plaintiffs, ) DlSCOVERY REQUESTS FROM

) DEFENDANT TOWNE
v.

MATTHEW HYRA, clTY oF
sEATTLE (sPD), et al.,

Defendants.

vvvvvvv

 

PROPOUND|NG PARTY: DEFENDANT TOWNE
RESPOND|NG PARTY: PLA|NTIFF JACOB ERVVIN
SET NO.; 1

COMES NCW PLA|NT|FF JACOB ERW|N, |N THE ABOVE-NAMED ACTIGN
THROUGH HIS ATTORNEY LAWRENCE A. HlLDES, AND, RESPONDS TO
DEFENDANT TOWNE’S SET ONE OF DlSCOVERY REQUESTS AS F()LLOVVSZ

DUNN V. HYRA~PLA|NT|FF JACOB ERW|N’S Responses to SET 1 of Discovery Requests T'rorn Defendant
Towne

LAWRENCE A. HlLDES (WSBA # 35035)

P.O. Box 5405

Bellingham, WA 98227

Telephone; (360) 715»9788

Fax: (360) 714-1791

ATTORNEY FOR PLA|NT|FFS

l

©OO\]O\U\-¥>

10
11
12
13
14
15
16
17
18
19
20
21
22

Case 2:08-cv-00978-.]LR Document 32-6 Filed 06/02/09 Page 39 of 46

Plaintiffs object to the extent that Defendants have exceeded the limits for this
type of discovery, or have used subparts and definitions to facilitate exceeding the
limits by propounding the extreme number of 84 Requests for Admissions of this
Plaintiff and even far more extreme numbers as to the other Plaintiffs and by piling
massive and ridiculous numbers of sets of discovery requests and requests Within
those sets in order to render it impossible for Plaintiffs to fully respond .

Plaintiffs object to Defendants’ use of discovery to vex, annoy, and abuse the
legal process rather than for legitimate discovery purposes Here, Defendants ask
questions where the answers are either already contained in the document or require
legal conclusions that themselves require advanced legal training ln many ot these
sets, Defendants have propounded interrogatories that included extensive subparts,
totaling over the limit for interrogatories

Finally, Plaintiffs object to counsel for Defendants deliberate propounding of
these discovery requests while counsel for Plaintiffs was on vacation and during a
period that counsel had filed a notice of unavailability for and then refusing to agree to
an extension of time specifically to respond to these RFAs despite direct knowledge
that counsel for Plaintiffs was away for several days of the period involved

Discovery is ongoing, and Plaintiffs reserve the right to correct, amend,
supplement or change their answers to this set of discovery as further information is

revealed during the course ot discovery

DUNN V. HYRA-PLAlNTlFF JACOB ERWlN’s Responses to SET 1 of Discovery Requests from Defendant 2
Towne .
LAWRENCE A. HlLDES (WSBA # 35035)

P,O. Box 5405

Bellingham, WA 98227

Telephone; (360) 715-9788

Fax: (360) 714-1791

ATFORNEY FOR PLAlNTlFFS

10

11

12

13

14

15

16

17

18

19

20

21

Case 2:08-cv-00978-.]LR Document 32-6 Filed 06/02/09 Page 40 of 46

REsPoNsc;:s To DiscovERY REQuEsTs
sET oN§ oF piscovERY REQuEsTs

lN'E'§RROGATOR|ES

1. Identify every person who participated in answering any of these interrogatories and/or
requests for production, designating the interrogatory(ies) and/or request(s) for production in
which he or she participated in answering
ANSWER: My attorney, Lawrence A. Hildes.
2. State every fact that supports, negates, or relates to your allegations in Paragraph 4. 10 of
the Complaint that Lieutenant Towne ratified and approved [the] inappropriate, illegal, and
tortious conduct and intentional acts of Defendants Hyra, Bales, Roberson, Skommesa, Avery,
Greeley, and Martin to deprive Plaintiff ERWlN of his rights, identifying each person and
document that you believe has information that assists in establishing each such fact..

ANSWER: Pl_AlNTlFF objects to this interrogatory as actually constituting 7
interrogatories which combined with the other interrogatories far exceeds the limit as
to interrogatories Plaintiff will, therefore, answer as to this Defendant alone. Plaintiff
answers as follows: Defendant Hyra spoke with Defendants Towne and l\/lartin, who
specifically approved his course of illegal conduct, They then observed the illegal
conduct by the Officers listed in the interrogatory. ln addition, TOWNE then signed off
on the reports, knowing they were false, and made the decision to hold Plaintiff
ERWlN on a felony assault charge and forward that charge to the prosecutor, knowing

that Plaintiff ERWlN had not assaulted Hyra or anyone else. Thus Plaintiff ERWlN

DUNN V. HYRA-PLA|NT|FF JACOB ERWlN’s Responses to SET 1 of Discovery Requests trom Defendant 3
Towne

LAWRENCE A. HlLDES (WSBA # 35035)

P.O. Box 5405

Bellingham, WA 98227

Telephone; (360) 715-9788

Fax: (360) 714-1791

ATTORNEY FOR PLA|NT|FFS

10

11

12

13

14

15

16

17

18

19

20

Case 2:08-cv-00978-.]LR Document 32-6 Filed 06/02/09 Page 41 of 46

was held at the police station and the jail, without his rights being respected or
followed See the reports and Defendant Hyra’s answers to interrogatories

3. State every fact that supports, negates or relates to your allegations in Paragraph 4.10 of
the Complaint that Lieutenant Towne failed to properly supervise, train, and discipline
Defendants Hyra, Bales, Roberson, Skommesa, Avery, and Greeley as the alieged failure relates
to Plaintiff ERWIN, identifying each person and document that you believe has information
that assists in establishing each such fact.

ANSWER: PLAlNTlFF objects to this interrogatory as actually constituting 7
interrogatories which combined with the other interrogatories far exceeds the limit as
to interrogatories Plaintiff will, therefore, answer as to this Defendant alone. Plaintiff
answers as follows: Defendant Hyra spoke with Defendants Towne and l\/lartin, who
specifically approved his course of illegal conduct They then observed the illegal
conduct by the foicers listed in the interrogatory. ln addition, TOWNE then signed off
on the reports knowing they were false, and made the decision to hold Plaintiff
ERWlN on a felony assault charge and forward that charge to the prosecutor, knowing
that Plaintiff ERWlN had not assaulted Hyra or anyone else. Thus Plaintiff ERWlN
was held at the police station and the jail, without his rights being respected or
followed See the reports and Defendant Hyra’s answers to interrogatories All of this
constitutes failure to properly supervise ln addition, by approving and ratifying the

conduct, Defendant Towne trained Defendants to engage in specifically

DUNN V. HYRA-PLAlNTlFF JACOB ERWlN’s Responses to SET 1 of Discovery Requests from Defendant 4
Towne

LAWRENCE A. HlLDES (WSBA # 35035)

P,O. Box 5405

Bellingham, WA 98227

Telephone; (360) 715~9788

Fax: (360) 714*1791

ATTORNEY FOR PLA|NT|FFS

10

11

12

13

14

15

16

17

18

19

20

Case 2:08-cv-00978-.]LR Document 32-6 Filed 06/02/09 Page 42 of 46

Constitutionally violative conduct, ln addition, there is no evidence that any of the

Defendants were ever investigated or disciplined for any aspect of this incident

4. in Paragraph 2.24 (page 13, ll. 1-2) of the Complaint, you state These actions
were ratified by supervising Defendants MARTlN, HAYES, and TOWNES. State every fact
that supports, negates or relates to this aliegation as it relates to Lt. Townes actions with
respect to Plaintiff ERWH\i, identifying each person and document that you believe has
information that assists in establishing each such fact.

ANSWER: See response to interrogatory 3 above..

5. State all claims asserted by Plaintiff ERWIN against Lt. Towne, and, as to
each, set forth each and every fact that supports negates or relates to such claim.

ANSWER: Plaintiff answers as follows: Defendant TOWNE approved Hyra’s
course of conduct as his supervisor in advance leading directly to all of the harm
involved ln addition, TOWNE then signed off on the reports knowing they Were false,
and made the decision to hold Plaintiff ERWlN on an obstruction charge and fon/vard
that charge to the prosecutor, knowing that Plaintiff ERWlN had not obstructed Hyra
or anyone else Thus Plaintiff ERWlN was held at the police station and the jail,
without his rights being respected or followed Defendant Towne acted to legitimize
and signed off on Hyra’s wrongful seizure of Plaintiff Dunn’s flag, unjustified by laW,

and then the unlawful arrest of ERW|N, which he lied about ln addition, Defendant

DUNN V. HYRA-PLA|NTlFF JACOB ERW|N’s Responses to SET 1 of Discovery Requests trom Defendant 5
Towne

LAWRENCE A. HlLDES (WSBA # 35035)

P.O. Box 5405

Bellingham, WA 98227

Telephone; (360) 715-9788

Fax: (360) 714»1791

ATTORNEY FOR PLAlNT|FFS

10

11

12
13
14
15
16
17
18
19
20
21

Case 2:08-cv-00978-.]LR Document 32-6 Filed 06/02/09 Page 43 of 46

Towne continued to supervise Defendants’ actions in relation to this incident,
subsequent to Plaintiffs’ arrests Therefore, Defendant Towne is liable for the Civil
Rights Violations, as well as all of the Torts, since they directly resulted from his
supervision See Plaintiff’s claims Defendants reports and discovery responses of

Hyra,

6. Below you will find requests for production For each document that is
responsive to the requests for production which you either produced in redacted form or did not
produce at all, identify the document and the basis for the redaction or failure to produce it.

ANSWER: In addition to the above documents see the letter from the attorney for the

Seattle Police Department to counsel for Plaintiff’ s rec the alert code on Plaintiff Dunn,

VI. REOUESTS FOR PR()DUCTION
1. Produce any document identified in any of the answers to the preceding interrogatories
RESPONSE: PLAINTIFF WILL PRODUCE ALL SUCH DOCUMENTS
2. Produce a copy of any document you reviewed in answering any of the preceding
interrogatories and/or preceding or subsequent requests for production irrespective of whether
you obtained any part of your answer or response from that document
RESPONSE: PLAINTIFF WILL PRODUCE ALL SUCH DOCUMENTS
3. Produce all documents that you contend support, or lend support to, any of your
responses to the above interrogatories

RESPONSE: PLAIN'I`IFF WILL PRODUCE ALL SUCH DOCUMENTS

DUNN V. HYRA-PLA|NT|FF JACOB ERWlN’s Responses to SET 1 of Discovery Requests from Defendant 6
Towne

LAWRENCE A. HlLDES (WSBA # 35035)

P.O. Box 5405

Bellingham, WA 98227

Telephone; (360) 715-9788

Fax: (360) 714-1791

ATTORNEY FOR PLA|NTIFFS

KJJ

Case 2:08-cv-00978-.]LR Document 32-6 Filed 06/02/09 Page 44 of 46

4. Produce all documents that you contend support, negate, or relate to the claims asserted

by Plaintiff ERWlN against LT. Towne.

RESPONSE: PLAINTIFF WILL PR()DUCE ALL SUCH DOCUMENTS

DUNN V. HYRA-PLAlNTlFF JACOB ERWlN’s Responses to SET 1 of Discovery Requests from Defendant
Towne

LAWRENCE A. HlLDES (WSBA # 35035)

P.O. Box 5405

Bellingham, WA 98227

Telephone; (360) 715-9788

Fax: (360) 714‘1791

ATTORNE‘( FOR PLAINT|FFS

7

,._A

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

27
28
29
30

31

32
33

Case 2:08-cv-00978-.]LR Document 32-6 Filed 06/02/09 Page 45 of 46

VERIFICATION T() F()LLOW
1, JACOB ERWlN, certify and declare under penalty of perjury under the laws of the State of
Washington and the United States that 1 am a Plaintiff in this action, and that 1 have read the
answers to the foregoing interrogatories and requests for production and the answers thereto,

know the contents thereof, and believe all the answers to be true.

 

SIGNED at , , on this y _ day of

, 2009.

 

 

JACOB ERWlN
ATTORNEY’S CR 26 CERTIFICATI()N

The undersigned attorney certifies pursuant to Civil Rule 26(g), that he has read each
response and objection to these discovery requests and that, to the best of his knowledge
information, and belief formed after a reasonable inquiry, each is: (1) consistent with the
Federal Rules of Civil Procedure and warranted by existing law or a good-faith argument for
the extension, modification, or reversal of existing law; (2) not interposed for any improper
purpose, such as to harass or to cause unnecessary delay or needless increase in the costs of
litigation; and (3) not unreasonably or unduly burdensome or expensive, given the needs of the
case, the discovery already had in the case, the amount in controversy, and the importance of
the issues at stake in the litigation

RESPONSES dated this day of , 2009 at w , , "

Washington.

sss j
ij ~ w
jr %yis.f~‘

 

»»s.,¢syw,/,.~…M§~»

Lawrence A. Hiides, WsBA #35035

 

Attorney for Plaintiffs
DUNN V. HYRA-PLAlNTlFF JACOB ERWIN’s Responses to SET 1 of Discovery Requests from Defendant 8
Towne
LAWRENCE A. HlLDES (WSBA # 35035)
P.O. Box 5405

Bellingham, WA 98227
Telephone; (360) 715~9788
Fax: (360) 714-1791

ATTORNEY FOR PLA|NT|FFS

CD Ul-£>L)J!\.)*~‘

»-di-¢
’_CD\DOO\¥

13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
29
30
31
32
33

Case 2:08-cv-00978-.]LR Document 32-6 Filed 06/02/09 Page 46 of 46

PR()()F OF SERVICE
Lawrence A. Hildes certifies as follows:
1 am over the age of 18 years, and not a party to this action. 1 am a citizen of the United States.
l\/ly business address is P.O. Box 5405, Bellingham, WA 98227
On May 26, 2009, I served the following documents(s) described as follows

PLAINTIFF’S RESPONSES TO SET ONE OF DlSCOVERY REQUESTS§. from Defendant
TOWNE
on the following persons(s) in this action at the following addresses:

HEATHER CARR
STAFFORD FRYE COOPER
601 Union Street, Suite 3100
Seattle WA 98101.1374

[X ] (BY FIRST CLASS MAIL) by placing a true copy of the above documents in a sealed
envelope with postage fully prepaid in the mail at Bellingham, WA, addressed to the person(s)
above at the above address

[ 1 By electronically serving, by filing an electronic copy with the court in such a way that
notice will be sent to counsel for Defendant

[X] (FEDERAL) 1 declare under penalty of perjury that 1 am a member of the BAR of this
court, and that the above information is true and correct

Executed on May 26, 2009, at Bellingham, Washington.

W“‘;y

guam/s ' ~»~ fda

LAWRENCE A. HlLDES

 

 

DUNN V. HYRA-PLA|NT|FF JACOB ERW|N’s Responses to SET 1 of Discovery Requests from Defendant
Towne

LAWRENCE A. HlLDES (WSBA # 35035)

P,O. Box 5405

Bellingham, WA 98227

Telephone; (360) 715~9788

Fax: (360) 714*1791

AT\'ORNEY FOR PLAINT|FFS

9

